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   11
      Attorneys for Plaintiffs
   12
   13                        UNITED STATES DISTRICT COURT
   14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 MICHAEL LAVIGNE, et al.,                  CASE NO. 2:18-cv-07480-JAK (MRWx)
   17               Plaintiffs,                 [Related Case 2:13-cv-02488-BRO-RZ]
   18        vs.                                STIPULATION FOR
                                                RESCHEDULING OF HEARING ON
   19 HERBALIFE LTD., et al.,                   MOTION TO DISMISS
   20               Defendants.                 [Filed concurrently with [Proposed]
                                                Order]
   21
                                                Assigned to Hon. John A. Kronstadt,
   22                                           Courtroom 10B
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                   STIPULATION FOR RESCHEDULING OF HEARING ON MOTION TO DISMISS
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    1         Pursuant to Local Rule 7.1, Defendants Herbalife Nutrition Ltd. (fka
    2 Herbalife Ltd.), Herbalife International, Inc., and Herbalife International of
    3 America, Inc. (collectively, “Herbalife”), and Plaintiffs Patricia Rodgers, Jeff
    4 Rodgers, Izaar Valdez, and Jennifer Ribalta, by and through their respective counsel
    5 of record, hereby stipulate as follows:
    6         WHEREAS, on January 2, 2019, the Court entered an order setting a hearing
    7 on Defendants’ Motion to Dismiss (ECF No. 142) on January 28, 2019 at 8:30 a.m.;
    8         WHEREAS Etan Mark, counsel for Plaintiffs who has been actively handling
    9 this matter, is unavailable on January 28, 2019 due to a long-standing personal
   10 commitment;
   11         WHEREAS counsel for Plaintiffs intends to travel from Florida to attend the
   12 hearing on the Motion to Dismiss; and
   13         WHEREAS, upon meeting and conferring, the parties agree and respectfully
   14 request that the hearing on the Motion to Dismiss be reset, subject to the Court’s
   15 availability, within 14 days of January 28, 2019.
   16         IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:
   17         (1)    The parties jointly request that the Court continue the hearing on the
   18 Motion to Dismiss to January 30, 31, February 1, 4, 5, or 11.
   19
   20         Local Rule 5-4.3.4(a)(2)(i) Compliance: Filer attests that all other
   21 signatories listed concur in the filing’s content and have authorized this filing.
   22 DATED: January 3, 2019                Respectfully submitted,
   23
                                            Mark Migdal & Hayden
   24
                                            By:          /s/ Etan Mark
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                                                               Etan Mark
   26                                             Attorneys for Plaintiffs Jeff Rodgers,
                                                  Patricia Rodgers, Jennifer Ribalta, and Izaar
   27
                                                  Valdez
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    1
        DATED: January 3, 2019          Mark T. Drooks
    2                                   Paul S. Chan
    3                                   Gopi K. Panchapakesan
                                        Bird, Marella, Boxer, Wolpert, Nessim,
    4                                   Drooks, Lincenberg & Rhow, P.C.
    5
                                        By:          /s/ Mark T. Drooks
    6                                                     Mark T. Drooks
    7                                         Attorneys for Defendants Herbalife
                                              Nutrition Ltd. (fka Herbalife Ltd.),
    8                                         Herbalife International, Inc., and Herbalife
    9                                         International of America, Inc.
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                 STIPULATION FOR RESCHEDULING OF HEARING ON MOTION TO DISMISS
